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 AO 442 (Rev. 11111) Arrest Warrant




                                               UNITED STATES DISTRICT COURT
                                                                          for the
                                                                   District of Colum bia

                         United States of America
                                      v.                                    )
                                                                            )           Case No.
                             ENRIQUE TARRIO                                 )
                        also known as "Henry TarrioH
                                                                            )
                                                                            )
                                                                            )
                                   Defendant


                                                                ARREST WARRANT
To:          Any authorized law enforcement officer


             YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)            ENRIQUE TARRJO
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment               ~    Superseding Indictment         0 Information           0 Superseding Information                      0 Complaint
o     Probation Violation Petition              0 Supervised Release Violation Petition                   0 Violation Notice              0 Order of the Court

This offense is briefly described as follows:

     18 U.S.C. § 1512(k) (Conspiracy to Obstruct an Official Proceeding); 18 U.S.C. §§ 1512 (c)(2) and 2 (Obstruction of an
     Official Proceeding and Aiding and Abetting); 18 U.S.C. §§ 231(a)(3) and 2 (Obstruction of Law Enforcement During Civil
     Disorder and Aiding and Abetting); 18 U.S.C. §§ 1361 and 2 (Destruction of Government Property and Aiding and
     Abetting); 18 U.S.C. § 111(a)(1) (Assaulting, Resisting, or Impeding Certain Officers).

                                                                                                                           Zia M. Faruqui
                                                                                                                           2022.03.07
Date:
                  03/07/2022                                                                                               17:17:18 -05'00'
                                                                                                           Issuing officer's signature

City and state:
                            Washington, D.C_.            _                      _ __ Zia M. Faru ui. United States Magistrate Jud e
                                                                                                             Printed name and title


                                                                        Return


at
            This warrant was received on
     (city and state)      m ,em   I I
                                                (date)
                                               FL_.
                                                             -3..1'-_ 1027-,        and the person was arrested on (date)                 "3) g!Zoz_...--z_

Date:      5/ '8 2DZZ
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                                                                                      5 J4                  ~fI        iN Heecee__
                                                                                          L....:._-f...-'-=p"-rin-'-t-ed name and title
